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             IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                                             )
             vs.                             )     Criminal No. }~ - 'S')
                                             )
                                             )
                                             )
                                             )
                        Defendant.           )


      TYPE OF HEARING:                  ~\tMC,I~
                             --B-efi-or-e-Ju-d-ge_A_m_b_r--1ob_e_ _




Appear for USA                                    Appear for Defendant


Hearing begun:     __l--+-l_O_\~,___:_$___~ Stenographer: _ _ _ _ _ _ _ __
